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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


TIFFANY SAIDNIA,

                      Plaintiff,
         -against-
                                                                 Case No. 21 Civ. 7792 (VSB)
NIMBUS MINING LLC, REMY JACOBSON,
                                                                 NOTICE OF MOTION
GREG BACHRACH, and JEAN-MARC
JACOBSON,

                      Defendants.


         PLEASE TAKE NOTICE that upon the Declaration of Russell M. Yankwitt, dated

December 4, 2023, Yankwitt LLP will move this Court before the Honorable Vernon S.

Broderick, in the Hon. Thurgood Marshall United States Courthouse, 40 Foley Square,

Courtroom 518, New York, NY 10007, at a date and time to be determined by the Court,

pursuant to Local Rule 1.4 and Rule 1.16(c)(1), (c)(5), and (c)(7) of the New York Rules of

Professional Conduct, for an order relieving Russell M. Yankwitt and Jonathan Ohring of

Yankwitt LLP as counsel to defendants Remy Jacobson and Jean-Marc Jacobson in this action,

and granting such other relief as the Court deems appropriate.

Dated:    White Plains, New York
          December 4, 2023
                                                    YANKWITT LLP

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                                                    Jean-Marc Jacobson
